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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Empire Prime Capital Investments Inc.

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           4      6      –      8      0        4    8         0   4     4

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       1910 Forest Lane
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Garland                             TX       75042
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Dallas                                                          from principal place of business
                                       County

                                                                                                       1820 Forest Lane, Garland, TX 75042
                                                                                                       Number     Street

                                                                                                       1840 Forest Lane, Garland, TX 75042

                                                                                                       4816 Tamanco Ct., Arlington, TX 76017
                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Empire Prime Capital Investments Inc.                                         Case number (if known)

7.   Describe debtor's business   A. Check one:

                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above


                                  B. Check all that apply:

                                        Tax-exempt entity (as described in 26 U.S.C. § 501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in
                                        15 U.S.C. § 80a-3)
                                        Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                  C.    NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the   Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
                                        Chapter 9
                                        Chapter 11. Check all that apply:
                                                        Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                        insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                        4/01/25 and every 3 years after that).

                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                          debtor is a small business debtor, attach the most recent balance sheet,
                                                          statement of operations, cash-flow statement, and federal income tax return or if
                                                          all of these documents do not exist, follow the procedure in
                                                          11 U.S.C. § 1116(1)(B).

                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                          chooses to proceed under Subchapter V of Chapter 11.

                                                          A plan is being filed with this petition.

                                                          Acceptances of the plan were solicited prepetition from one or more classes of
                                                          creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                          Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                          Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                          Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                          form.

                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                          Rule 12b-2.

                                        Chapter 12




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Debtor Empire Prime Capital Investments Inc.                                              Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY
                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




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Debtor Empire Prime Capital Investments Inc.                                      Case number (if known)

12. Does the debtor own or            No
    have possession of any            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal              needed.
    property that needs
                                           Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                safety.
                                                What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                related assets or other options).

                                                Other


                                           Where is the property?
                                                                        Number      Street




                                                                        City                                       State      ZIP Code

                                           Is the property insured?

                                                No
                                                Yes. Insurance agency

                                                        Contact name

                                                        Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds                  Funds will be available for distribution to unsecured creditors.
                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of               1-49                              1,000-5,000                         25,001-50,000
    creditors                         50-99                             5,001-10,000                        50,001-100,000
                                      100-199                           10,001-25,000                       More than 100,000
                                      200-999

15. Estimated assets                  $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities             $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




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Debtor Empire Prime Capital Investments Inc.                                             Case number (if known)

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 06/27/2022
                                                      MM / DD / YYYY



                                          X /s/ Juan D. Favela
                                              Signature of authorized representative of debtor
                                              Juan D. Favela
                                              Printed name
                                              President
                                              Title

18. Signature of attorney                X /s/ Joyce W. Lindauer                                                  Date   06/27/2022
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Joyce W. Lindauer
                                            Printed name
                                            Joyce Lindauer
                                            Firm name
                                            Joyce W. Lindauer Attorney, PLLC
                                            Number          Street
                                            1412 Main Street, Suite 500

                                            Dallas                                                     TX                 75202
                                            City                                                       State              ZIP Code


                                            (972) 503-4033                                             joyce@joycelindauer.com
                                            Contact phone                                              Email address
                                            21555700                                                   TX
                                            Bar number                                                 State




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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
  IN RE:   Empire Prime Capital Investments Inc.                                    CASE NO

                                                                                   CHAPTER    11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 6/27/2022                                          Signature   /s/ Juan D. Favela
                                                                    Juan D. Favela
                                                                    President




Date                                                    Signature
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                         Ashby Townhomes LLC
                         c/o Eric Rioja, Registered Agent
                         309 W. Avenue B
                         Garland, TX 75040


                         Attorney General of Texas
                         Bankruptcy Division
                         P O Box 12548
                         Austin, TX 78711-2548


                         Eber Villanueva
                         a/k/a Citywide Motors
                         1910 Forest Lane
                         Garland, TX 75042


                         Empire Exotic Motors, Inc.
                         c/o Eric Rioja, Registered Agent
                         309 W. Avenue B
                         Garland, TX 75040


                         Eric Rioja
                         c/o Connor Nash
                         James S. Bell, P.C.
                         2808 Cole Avenue
                         Dallas, TX 75204

                         Internal Revenue Service
                         Mail Code DAL-5020
                         1100 Commerce Street
                         Dallas, Texas 75242-1100


                         Internal Revenue Service
                         Centralized Insolvency Operations
                         PO Box 7346
                         Philadelphia, PA 19101-7346


                         Linebargar Goggan Blair & Sampson
                         2777 N. Stemmons Freeway
                         Suite 1000
                         Dallas, TX 75207


                         Luis Leal
                         1820 Forest Lane
                         Garland, TX 75042
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                         Matthew Oliver
                         a/k/a The Car Network
                         1840 Forest Lane
                         Garland, TX 75042


                         Prime Consulting, LLC
                         c/o Ryan Rouz
                         Rouz & Associatse, PLLC
                         1111 S. Akard St., Suite 405
                         Dallas, TX 75215

                         Robert W. Berleth
                         Berleth & Associates
                         9950 Cypresswood, Suite 200
                         Houston, TX 77070


                         Silver Hill Funding
                         c/o Community Loan Servicing
                         PO Box 740410
                         Cincinnati, OH 45274


                         T Bank
                         c/o Tiffany L. martin
                         Leggett Clemons Crandall PLLC
                         5700 Granite Parkway, Suite 950
                         Plano, TX 75024

                         Texas Comptroller of Public Accounts
                         Revenue Accting Div - Bankr Section
                         PO Box 13528
                         Austin, TX 78711-3528


                         Texas Workforce Commission
                         101 East 15th Street
                         Austin, TX 78778-0001



                         U. S. Attorney General
                         Department of Justice
                         Main Justice Building
                         10th & Constitution Ave., NW
                         Washington, DC 20530-0001

                         U. S. Trustee's Office
                         1100 Commerce Street
                         Room 976
                         Dallas, TX 75242
